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FOR THE NORTHERN DISTRICT OF ILLTNDIS
MIGHAEL W. DDBIINI

§l=§n“' u . m.f.|" EASTERN DIVISIDN

Brisn Willisrns, )

Plaintitt`, )

>06 -
vs. ) "D
h )

City ot`C icugo, 11 Municipal ) '.
Corporstion, Peter Arpaia, Stsr # 1510, ) JUDGE KENDALL
Anclrew Dskurss, Star # 6643_, )
Eric Csto, Stsr #14274, Peter White, Star # ) No.
5367, Robert Woods, Ste.r # 15143, )
Stanley Figus, Star # `13305, Scctt Hull, Star) mei
# 12973, Angei Amador, star # 1994'1, ) STRA T&.
Crsig Dundcrdale, Stsr #12346, Chris ) JUDGE' d
Witczak, Stsr # 9251, Mark Jaeger, Star # ) Mg-""M)
9974, Christopher McHugh_, Star # 3813, )
City ot"Chicsgo Police Ot‘ficers, )
In Thcir Inclividunl Capacities, )

Det`endsnts. )
Jurisdiction

l. 'l`hc jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42

U.S.C.,§ 1983, § 1988; 23 U.S.C. § `133`1, § `1343(11), and thc Constitution ot`thc

United States.
M
2. Brie.n Willisuns is s resident of Cook Connty, Illinois.
3. Dct`endsnt City of Chicago, is 1111 Illinois municipal corporation
4. At all relevant timos, Det`endzint officers were duly licensed police officers With

the Def`endant City ofChics,g,o1 a municipal corporation, and were acting in the

course and scope ot` their employment and under color ot`lsw.

 

 

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12.

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On or about Mareh 18, 2004, Plaintiff Brian Williarns was at 309 N. Lamon

Chicago, Cook County, Illinois.

Then and there1 one or more of the Defendant officers stopped, seized, searched,

detained, and/or arrested Plaintitt`.

During this seizure, one or more of the Defendant officers willfully caused

excessive bodily harm to Flaintiff, without any legal justification

Defendant officer(s) did not have a reasonable basis for using the amount of force

used against the Plaintiff.

During the seizure, one or more of the Defendant officers Willfully caused

excessive bodily harm to Plaintiff without any legal justification, while one or

more of the other Defendant officers failed to intervene to protect Plaintiff from

such willfully caused excessive bodily harm despite a duty to do so.

As the direct and proximate result of all of the aforementioned actions by

Defendant officers, Plaintiffsuftered pain and suffering bodily injury,

disfigurement, medical expenses, as well as psychological damage and injury.
COUNT l - 42_MU.S,C. 3 1983 Exeessive Fnrec

Plaintiffre-alleges all prior allegationsl

The actions of Defendant officers in physically abusing and otherwise using

unreasnnable1 unjustifiable and excessive force against Plaintiff, and in failing to

intervene to protect the Plaintiff from such unreasonable_, unjustifiable_, and

excessive force, violated Plaintiff"s rights under the Fourth Amendment to the

 

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United States Constitution, incorporated to the states and municipalities through
the Fourteenth Arnendment_, to be secure in his person, papers, houses and effects
against unreasonable searches and seizures and thus violated 42 U.S.C. § 1983.
13. The actions of Defendant officers were the direct and proximate cause of the
Plaintiff’s injuries_, as set forth more fully above.
WHEREFORE, pursuant to 42 U.S.C. § 1983, and §1988, Plaintiff demands judgment
against Defendant officers, jointly and severally, compensatory damages against them, and
because they acted maliciously, wantonly, or oppressively, joint and several substantial punitive

darnages, plus the costs of this action, plus attorneys’ fees and other and additional relief as this

Court deems equitable and just.
COUNT I[_74§ ILCS IWQ*IUZ !hd§mnifiga!ion
Defendant Citv of Chicag_o_
14. Plaintiff`realleges what has been previously alleged in this Complaint.
l$. Defendant City of Chicago Was the employer of the Defendant officers at the time
of this incident.
16. Defendant officers committed the aforementioned willful and wanton acts alleged

above under color oflaw and in the course and scope of their employment as City

of Chicago police officers.
WHEREFC`)RE, pursuant to '?45 lLCS lO/'¢}~`l 02_, should any of the Defendant officers be
found liable on one or more of the claims set forth above, Plaintiff demands that the Defendant
City of Chicago be liable for any judgment (other than punitive damages) he obtains thereon

against said Defendants.

 

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-»_v.' -

PLAINTIFF DEMANDS TRIAL BY JURY

 

Respeetfully submitted,
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Une of the Plainti s Attomeys.
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